Case 4:23-cr-00054-AWA-DEM      Document 1202     Filed 05/12/25   Page 1 of 8 PageID#
                                      6534



                      UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                            Newport News Division


  UNITED STATES OF AMERICA

           v.
                                                   Criminal No. 4:23cr54-01
  CORTEZ DAYSHAWN BUMPHUS,

                     Defendant.


                                      ORDER

       Pending before the Court is the Motion to Dismiss Counts Two and Seventeen

 of the Indictment (the “Motion”) (Mot., ECF No. 1090) filed by Defendant Cortez Day-

 shawn Bumphus (“Defendant” or “Mr. Bumphus”). For the following reasons, the Mo-

 tion is DENIED.

 I.    BACKGROUND

       On July 10, 2023, Mr. Bumphus was charged in a four-count indictment by a

 grand jury in the Eastern District of Virginia. Indictment, ECF No. 1. A superseding

 indictment was filed on September 11, 2023, charging twenty-five additional defend-

 ants and charging Mr. Bumphus with four additional counts. Superseding Indict-

 ment, ECF No. 10. On April 18, 2024, a Second Superseding Indictment was filed,

 charging Mr. Bumphus with five additional counts, and adding eleven additional de-

 fendants. Second Superseding Indictment, ECF No. 434.

       In the Second Superseding Indictment (the “SSI”), Mr. Bumphus was charged

 with Continuing Criminal Enterprise, in violation of 21 U.S.C. § 848 (Count One);

 Conspiracy to Possess with Intent to Distribute and Distribute Marijuana, Cocaine,
                                          1
Case 4:23-cr-00054-AWA-DEM       Document 1202      Filed 05/12/25    Page 2 of 8 PageID#
                                       6535



 Oxycodone, Psilocybin, Promethazine, and Fentanyl, in violation of 21 U.S.C. §§ 846

 and 841 (Count Two); Conspiracy to Launder Money, in violation of 18 U.S.C.

 § 1956(h) (Count Three); Distribute Fentanyl, Oxycodone, and Marijuana, in viola-

 tion of 21 U.S.C. § 841(a)(1) (Counts Twelve, Thirteen, Fourteen, and Fifteen); Felon

 in Possession of Firearm, in violation of 18 U.S.C. § 922(g)(1) (Count Sixteen); Pos-

 session of Firearm in Furtherance of Drug Trafficking, in violation of 18 U.S.C.

 § 924(c) (Counts Seventeen, Eighteen, and Nineteen); Maintaining a Drug Involved

 Premises, in violation of 18 U.S.C. § 856(a)(2) (Count Twenty); and Use of a Commu-

 nication Facility in Furtherance of Drug Trafficking, in violation of 21 U.S.C. § 843(b)

 (Count Twenty-One). On January 7, 2025, trial was set for July 8, 2025.

       On March 28, 2025, Mr. Bumphus filed the present Motion to Dismiss Counts

 Two and Seventeen of the Indictment as Multiplicitous. Mot., ECF No. 1090. Therein,

 Mr. Bumphus makes two arguments. First, he notes that Count One of the SSI

 charges him with Continuing Criminal Enterprise, in violation of 21 U.S.C. § 848,

 and Count Two of the SSI charges him with Conspiracy, in violation of 21 U.S.C.

 §§ 846 and 841. As conspiracy is a lesser-included offense of continuing criminal en-

 terprise, he argues that the lesser included offense (Count Two) should be dismissed.

 Id. at 1. Second, Mr. Bumphus argues that the SSI charges him in both Counts Sev-

 enteen and Nineteen with violations of 18 U.S.C. § 924(c)(1)(A), that both counts

 charge the same offense based on the same conduct, and that Count Seventeen is

 therefore multiplicitous and should be dismissed. Id. at 2. He also argues that “Count

 17 must be dismissed for the independent reason that the SSI is necessarily



                                            2
Case 4:23-cr-00054-AWA-DEM        Document 1202      Filed 05/12/25   Page 3 of 8 PageID#
                                        6536



 impermissibly vague.” Id. at 5. On April 3, 2025, the Government filed its Response

 in Opposition to the Motion. Resp. Opp’n, ECF No. 1115. On April 9, 2025, Mr.

 Bumphus filed his reply to the Government’s Response in Opposition. Reply, ECF No.

 1124. The Motion (ECF No. 1090) is ripe for adjudication.

 II.   LEGAL STANDARD & ANALYSIS

       A. Count Two

       The Supreme Court has held that “§ 846 is a lesser included offense of § 848,

 because § 848 requires proof of every fact necessary to show a violation under § 846

 as well as proof of several additional elements.” Jeffers v. United States, 432 U.S. 137,

 150 (1977). However, the Fourth Circuit has clarified that although the lesser offense

 cannot “stand” if the Defendant is convicted of the greater offense, this does not pre-

 clude the Government from prosecuting the lesser-included offense:

       In vacating Leifreid’s convictions under § 841, we stress that the holding
       in Raimondo does not preclude the government from prosecuting for the
       lesser included offenses in similar instances. Likewise, the district court
       may properly submit the question of the defendant’s guilt on the lesser
       included offenses to a jury. However, if, as here, the defendant is con-
       victed of the greater offense, the convictions for the lesser offense cannot
       stand.

 United States v. Leifried, 732 F.2d 388, 389 (4th Cir. 1984) (citing United States v.

 Raimondo, 721 F.2d 476 (4th Cir. 1983)). However, the trial court has the discretion

 to require the prosecution to elect between multiplicitous counts before trial. United

 States v. Johnson, 130 F.3d 1420, 1426 (10th Cir. 1997) (finding that the district court

 did not abuse its discretion in denying Defendant’s pretrial motion to dismiss one of

 the multiplicitous counts). In particular, the Johnson court cautioned that when a



                                            3
Case 4:23-cr-00054-AWA-DEM        Document 1202      Filed 05/12/25   Page 4 of 8 PageID#
                                        6537



 trial court does not require the prosecutor to elect between multiplicitous counts be-

 fore trial, this may “falsely suggest to the jury that a defendant has committed not

 one but several crimes.” Id.; see also United States v. Marquardt, 786 F.2d 771, 778

 (7th Cir. 1986) (noting that multiplicitous indictments may prejudice the jury by “cre-

 ating the impression of more criminal activity” than what actually occurred).

       Here, Mr. Bumphus has been charged in the SSI with Continuing Criminal

 Enterprise, in violation of 21 U.S.C. § 848 (Count One) and Conspiracy to Possess

 with Intent to Distribute and Distribute Marijuana, Cocaine, Oxycodone, Psilocybin,

 Promethazine, and Fentanyl, in violation of 21 U.S.C. §§ 846 and 841 (Count Two).

 Pursuant to Jeffers, § 846 is indeed a lesser included offense of § 848. Leifreid informs

 this Court that if Mr. Bumphus is convicted of both Counts One and Two at trial, the

 conviction for the lesser offense—Count Two—cannot and would not stand. However,

 Leifreid also explicitly states that this possibility does not prevent the Government

 from prosecuting the lesser-included offense.

       This Court has discretion to deny pretrial motions to dismiss for multiplicitous

 counts pursuant to Johnson. Given that Defendant has been charged with thirteen

 counts, and that he was the first named defendant in this thirty-seven-defendant

 drug trafficking conspiracy, the Court is not presently concerned that not requiring

 the prosecution to elect between the two offenses “may falsely suggest to a jury that

 a defendant has committed not one but several crimes.” Johnson, 130 F.3d at 1426.

 As such, the Court exercises its discretion to deny Mr. Bumphus’ Motion to Dismiss

 Count Two of the Second Superseding Indictment.



                                            4
Case 4:23-cr-00054-AWA-DEM        Document 1202       Filed 05/12/25    Page 5 of 8 PageID#
                                        6538



       B. Count Seventeen – Multiplicity

       The Double Jeopardy Clause of the Fifth Amendment of the Constitution pro-

 vides that no person “shall . . . be subject for the same offense to be twice put in

 jeopardy of life or limb[.]” U.S. Const. amend. V. The Supreme Court has interpreted

 this clause to provide three distinct protections:

       (1) It protects against a second prosecution for the same offense after
       acquittal. (2) It protects against a second prosecution for the same of-
       fense after conviction. (3) And it protects against multiple punishments
       for the same offense.

 Illinois v. Vitale, 447 U.S. 410, 415 (1980). Moreover, “where there has been no prior

 conviction or acquittal, the Double Jeopardy Clause does not protect against simul-

 taneous prosecutions for the same offense, so long as no more than one punishment

 is eventually imposed.” United States v. Josephberg, 459 F.3d 350, 355 (2nd Cir. 2006)

 (concluding that the district court’s dismissal of an allegedly multiplicitous count

 prior to trial was premature). 1 The Court in Josephberg also concluded that because

 a pretrial dismissal of a multiplicitous count would be premature, they did not need

 to consider the question as to whether the count was indeed multiplicitous. Id. at 356.

       Here, Defendant contends that Count 17 and Count 19 are multiplicitous.

 Counts 17 and 19 both charge Mr. Bumphus with Possession of a Firearm in




 1 “[I]t is possible that the jury will convict Josephberg on one count and acquit on all

 other allegedly multiplicitous counts. In the event that the jury returns verdicts of
 guilty on Count 16 and on any other count with which Josephberg contends Count 16
 is multiplicitous, the district court may revisit the question of multiplicity . . . .” Jo-
 sephberg, 459 F.3d at 356.
                                             5
Case 4:23-cr-00054-AWA-DEM      Document 1202      Filed 05/12/25   Page 6 of 8 PageID#
                                      6539



 Furtherance of Drug Trafficking, in violation of 18 U.S.C. § 924(c). Count Seventeen

 charges that:

       On or about July 5, 2023, in the Eastern District of Virginia and else-
       where, the defendant CORTEZ DAYSHAWN BUMPHUS a/k/a “Co,”
       unlawfully and knowingly possessed a firearm, in furtherance of a drug
       trafficking crime for which he may be prosecuted in a court of the United
       States, to wit: possession with intent to distribute marijuana, a Sched-
       ule I controlled substance. (In violation of Title 18, United States Code,
       Section 924(c)(1)(A)).

 Second Superseding Indictment at 23, ECF No. 434. Count Nineteen charges
 that:

       On or about July 5, 2023, in York County, in the Eastern District of Vir-
       ginia and elsewhere, the defendant CORTEZ DAYSHAWN
       BUMPHUS a/k/a “Co,” unlawfully and knowingly possessed a firearm,
       in furtherance of a drug trafficking crime for which he may be prose-
       cuted in a court of the United States, to wit: possession with intent to
       distribute marijuana, a Schedule I controlled substance. (In violation of
       Title 18, United States Code, Section 924(c)(1)(A)).

 Id. at 25. Defendant asserts that because the only distinction between the two counts

 is the geographic designation, with Count 17 referencing “the Eastern District of Vir-

 ginia and elsewhere,” and Count 19 referencing “York County, in the Eastern District

 of Virginia and elsewhere” and because York County is within the Eastern District of

 Virginia, the Counts are multiplicitous because they charge identical criminal con-

 duct. Mot. at 4, ECF No. 1090. The Government contends that Count 17 and Count

 19 are separate crimes, referring to firearms and drugs possessed at separate loca-

 tions in Goldsboro and York County. Resp. Opp’n at 4, ECF No. 1115. Here, a pretrial

 dismissal of these allegedly multiplicitous counts would be premature, and the Court

 need not determine at this stage whether the counts are multiplicitous. Josephberg,

 459 F.3d at 356. In the event that the jury returns verdicts of guilty on any counts

                                           6
Case 4:23-cr-00054-AWA-DEM       Document 1202      Filed 05/12/25   Page 7 of 8 PageID#
                                       6540



 that Defendant contends are multiplicitous, “the district court may revisit the ques-

 tion of multiplicity.” Id.

        C. Count Seventeen – Vagueness

        “An indictment is sufficient if it contains the elements of the offense charged,

 fairly informs the defendant what charge he must be prepared to meet, and enables

 the accused to plead acquittal or conviction in bar of future prosecutions for the same

 offense.” United States v. Gordon, 780 F.2d 1165, 1169 (5th Cir. 1986). However, “a

 defendant’s constitutional right to know the offense with which he is charged must

 be distinguished from a defendant’s need to know the evidentiary details establishing

 the facts of such offense, which can be provided through a motion for a bill of partic-

 ulars.” Id. at 1172. Therefore, “although the defendant is entitled to a plain concise

 statement of the essential facts constituting the offenses charged, the indictment

 need not provide him with the evidentiary details by which the government plans to

 establish his guilt.” Id.

        Here, the indictment provides Mr. Bumphus with the elements of the offenses

 charged and the charges that he must be prepared to meet. Defendant contends that

 the indictment is impermissibly vague because it does not describe the “precise con-

 duct and act” of Count 17 and Count 19 (Mot. at 5, ECF No. 1090), but Gordon makes

 clear that the Government is not required to provide such evidentiary details within

 the indictment. Therefore, the indictment is neither multiplicitous nor vague as to

 Counts 17 and 19, and Defendant’s Motion to Dismiss Count 17 is denied.




                                            7
Case 4:23-cr-00054-AWA-DEM     Document 1202    Filed 05/12/25   Page 8 of 8 PageID#
                                     6541



 III.   CONCLUSION

        For the foregoing reasons, the Motion to Dismiss (ECF No. 1090) is DENIED.

 The Clerk is REQUESTED to forward a copy of this Order to defense counsel and

 the Assistant United States Attorney.

        IT IS SO ORDERED.



                                                           /s/
                                                  Arenda L. Wright Allen
                                                United States District Judge
 May 12, 2025
 Norfolk, Virginia




                                         8
